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DATE: 11/20/15 JUDGE: O’GRADY
REPORTER: _N. Linnell

 

START: _ 2:19
FINISH: _ 5:10

CIVIL ACTION NUMBER:_1:14cv1611

 

BMG RIGHTS MANAGEMENT (US) LLC, et.al.

COX COMMUNICATIONS, INC.., et.al.

 

Appearance of counsel for: ( X ) Plaintiff ( X ) Defendant

The following motions were heard:

Cox’s [460] Motion to Exclude the Testimony of Putative Expert William Lehr,
Ph.D, — granted in part.

Cox’s [463] Motion to Exclude the Testiimony of Putative Expert Terrence P.
McGarty, Ph.D. — granted in part.

Cox’s [470] Motion to Exclude the Testimony of Putative Expert Ralph Oman —
granted.

Cox’s [473] Motion to Exclude the Testimony of Putative Expert Robert A.

Bardwell, Ph.D. — denied.
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Cox’s [477] Motion to Exclude the Testimony of Putative Expert Stephen M.
Nowles, Ph.D. — denied.

Cox’s [532] Motion in Limine No. | to Preclude Plaintiffs from Using Rightscorp
Notices as Proof of Infringement — deferred.

Cox’s [534] Motion in Limine No. 2 to Preclude Plaintiffs from Referring to Mere
Use of BitTorrent or Amount of BitTorrent Infringing Activing as Proof of
Infringement — denied.

Cox’s [536] Motion in Limine No. 3to Preclude Plaintiffs from Referring to Cox’s
Failure to Preserve DHCP Logs — denied.

BMG’s [449] Motion to Exclude Portions of the Expert Report and Limit the Trial
Testimony of Cox’s Expert William Rosenblatt — granted.

BMG?’s [453] Motion to Exclude the Expert Report, Opinion, and Trial Testimony
of Cox’s Expert Joseph Karaganis — granted.

BMG’s [466] Motion to Exclude Ryan Sullivan from Offering Opinions or
Testimony Regarding the Economic Effects of Infringement Over the Cox Network
— denied.

BMG’s [543] Motion in Limine No. 1 to Exclude Introduction of Irrelevant
Information About Rightscorp, Inc. — granted.

BMG’s [546] Motion in Limine No. 2 to Exclude Evidence Related to the10%

Bitfield Threshold (Dkt. No. 546] - denied.
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BMG?’s [550] Motion in Limine No. 3 to Prohibit Cox from Referencing the
Copyright Alert System or the DMCA Practices of Other Internet Service Providers
— granted.
BMG?’s [553] Motion in Limine No. 4 to Exclude Evidence or Argument
Concerning the Communications Decency Act — granted.
BMG’s [556] Motion in Limine No. 5 to Preclude Defendants from Introducing
Evidence or Argument that BMG’s Corporate Parent Was Affiliated with Napster —
moot.
BMG’s [559] Motion in Limine No. 6 to Exclude Argument that Cox Is Not Liable
for Infringement Over Its Network by Users Other Than Named Account Holders —
granted in part.
BMG’s [562] Motion in Limine No. 7 to Preclude Cox and Its Experts from Using
Deceptive Notice and Warning Statistics to Argue that Its “Graduated Response” Is
Highly Effective at Curbing Infringement — granted.
BMG’s [565] Motion in Limine No. 8 to Prohibit Cox’s Designated Expert William
Rosenblatt from Opining on the Testimony and Actions of Percipient Witnesses
Based on Personal Conversations — granted.
BMG’s [568] Motion in Limine No. 9 to Exclude Evidence Concerning Other
Internet Service Providers’ Treatment of Rightscorp Inc.’s Notices and Other

Infringement Notices Containing Settlement Offers — granted.
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BMG’s [571] Motion in Limine No. 10 to Preclude Defendants from Introducing

Evidence or Argument Relating to Purported “Advice of Counsel” - granted.

Order to follow.
